                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                        )
                                                )
                                                )      Case No. 1:98CR00071
                                                )
v.                                              )      OPINION AND ORDER
                                                )
JAMES REECE FIELDS,                             )      By: James P. Jones
                                                )      United States District Judge
                                                )
                  Defendant.                    )

      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
for United States; Brian J. Beck, Assistant Federal Public Defender, Abingdon,
Virginia, for Defendant.

      The defendant has filed a Motion for Reconsideration of the Order of this

court denying his request for a full resentencing hearing, following a remand of the

case by the court of appeals that directed that this court correct his sentence. For

the reasons set forth herein, the motion will be denied.

                                          I.

      The defendant, James Reece Fields (also referred to as James Reece Fields,

Jr.) was sentenced by this court (Williams, J.) on January 31, 2000, to 293 months

imprisonment after his conviction by a jury of five counts of being a felon in

possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). As shown by the

Presentence Investigation Report (“PSR”) prepared at the time, Fields, who was




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then 58 years old, had been previously convicted of 57 separate Virginia felony

burglaries in four different Virginia localities between 1967 and 1982, as well as

two North Carolina burglaries, and Virginia unlawful wounding, abduction, and

robbery felony offenses. He had also been convicted of numerous other crimes,

including a 1982 conviction in federal court for being a felon in possession of a

firearm. These convictions resulted in his being in either state or federal custody

between 1981 and 1994.

       No objection was made to the probation officer’s recommendation in the

PSR that Fields be sentenced under the Armed Career Criminal Act (“ACCA”), 18

U.S.C. § 924(e). His Sentencing Guidelines range was determined to be 235 to

293 months and he was sentenced at the high end of that range. Fields’ appeal was

unsuccessful. United States v. Fields, No. 00-4119, 2000 WL 1336483, at *1 (4th

Cir. Sept. 15, 2000) (unpublished) (holding that evidence was sufficient for jury to

convict). Thereafter, Fields filed a pro se motion to vacate his sentence under 28

U.S.C. § 2255, which was dismissed as untimely. Fields v. United States, No.

Civ.A.7:05-CV-00778, 2005 WL 3533432 (W.D. Va. Dec. 22, 2005).

      On September 8, 2015, following Johnson v. United States, 135 S. Ct. 2551

(2015), the Federal Public Defender for this district was appointed by the court to

represent Fields in connection with a possible § 2255 motion. On May 19, 2016,

the Federal Public Defender filed in the court of appeals an Application for Leave


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to File a Successive Motion on Fields’ behalf, together with a proposed § 2255

motion. The court of appeals granted the application and transferred the § 2255

motion for filing in this court. In re Fields, No. 16-848 (4th Cir. June 13, 2016).

The § 2255 motion asserted that Fields’ Virginia burglary convictions and Virginia

abduction conviction were invalid predicates for his ACCA sentence.

      Following briefing of the United States’ Motion to Dismiss, I granted the

motion and dismissed Fields’ § 2255 motion, finding that it was barred by the

applicable statute of limitations, 28 U.S.C. § 2255(f). Op. & Order, Nov. 2, 2016,

ECF No. 56. Fields appealed and following later decisions interpreting Johnson by

the court of appeals, the United States moved the court of appeals to remand

Fields’ § 2255 motion for further proceedings by this court, asserting that it would

now waive any procedural defenses and consent to the resentencing of Fields as a

non-ACCA offender. The court of appeals granted the motion, United States v.

Fields, No. 16-7560 (4th Cir. Nov. 13, 2017), and I then granted Fields’ § 2255

motion, vacating his prior sentence, subject to resentencing. Order, Nov. 20, 2017,

ECF No. 82.

      In preparation for Fields’ resentencing, the probation office prepared a

written recalculation of his Sentencing Guidelines range. ECF No. 101. Fields

was scored with a Base Offense Level of 20, pursuant to U.S. Sentencing

Guidelines Manual (“USSG”) § 2K2.1(a)(4)(A) (2016), based on his prior Virginia


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conviction for robbery. Fields filed objections to this scoring, contending that

Virginia common law robbery does not qualify as a crime of violence under USSG

§ 4B1.1(a), and that instead of Base Offense Level of 20, his Base Offense Level

ought to be 14, pursuant to USSG § 2K2.1(a)(6)(A). In a written opinion, I

overruled the defendant’s objections. Fields v. United States, No. 1:98CR00071

2017 WL 6638208, at *3 (W.D. Va. Dec. 29, 2017).

      The resentencing was held on January 9, 2018.              Prior thereto, the

government filed a motion seeking an upward departure or variance to Fields’ prior

sentence of 293 months, based on his extensive criminal history. Mot. 3, EFC No.

85. At the sentencing hearing, I determined that Fields now had a Total Offense

Level of 22, with a Criminal History Category of VI, resulting in an advisory

guideline range of 84 to 105 months imprisonment. Tr. 3, ECF No. 109. Counsel

for Fields presented evidence as to the appropriate sentence, consisting of Fields’

38-page record from the Bureau of Prisons, which indicated his limited

disciplinary record, his history of education programs, and his medical history,

showing anticipated knee surgery. Defense counsel did not object to a sentence

above the guideline range, but argued for one below the original sentence, stating:

            MR. BECK: Yes, Your Honor. Sentencing is always difficult
      in federal cases, especially with someone like Mr. Fields who does
      have a significant criminal history. With that said we have had a
      change in the guidelines. The guidelines now are significantly lower
      than at the time of sentencing. And we also do have some additional
      information about Mr. Fields that’s not available in every case, namely
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     how he’s adjusted in prison. He’s adjusted well as Ms. Bockhorst
     said, as the BOP records say, and the federal case law including both
     the Pepper and Dean case would suggest that that kind of adjustment
     should count for something. And I would ask the Court to reduce the
     sentence from 293 months to nothing more than 240. I think if he gets
     240, he’ll go home soon. Thank you.

Tr. 10, ECF No. 109. After hearing allocution from the defendant, I stated my

reasons for imposing the same sentence as originally imposed:

           The Government has asked for a upward departure and/or a
     variance, and its arguments are as set forth today and as elaborated
     upon in the motion that the Government filed in the case. It is argued
     on behalf of the defendant that while a sentence above the current
     guideline range might be appropriate, a sentence requested by the
     Government would not be based on the defendant’s good history in
     prison. And I certainly considered that argument also.

            First, I do believe that an upward departure is appropriate in
     this case above the guideline range based on § 4A1.3 of the
     sentencing guidelines, which is entitled, “Adequacy of Criminal
     History Category.” And of course prior notice of a possible departure
     on this ground has been given.

            And I wish to state my reasons for such an upward departure.
     The reliable evidence from the presentence report shows in my
     opinion that the defendant is unlikely to abide by the law. He has
     been involved with the law continuously at an early point in his life
     and has committed numerous crimes. In fact, he's committed so many
     that I’m not sure that there's an entire agreement in my earlier opinion
     and in the Government's motion of the number of crimes that he's
     actually committed. I’ve counted them again, and between the age of
     18 and age 56 I count that he committed 106 separate crimes. This is
     over a 38-year period. And he received for these separate crimes,
     according to my calculations, at least 77 separate sentences. And this
     is in spite of the fact that he was incarcerated for a lengthy period of
     time. According to the presentence report he was incarcerated
     between 1981 and 1993. These crimes as the Government has pointed
     out to include, of course, both felonies and misdemeanors, but 58

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     burglary or breaking and entering offenses, numerous grand larceny
     offenses, two previous federal counts of being a felon in possession of
     a gun or guns, abduction and robbery in which he abducted a police
     officer at gun point. And according to my calculations, again, he has
     128 criminal history points resulting from these prior convictions.

            Under the sentencing guidelines it is permissible for the Court
     to depart above the calculated criminal history category and above the
     offense level where reliable information indicates that departure is
     appropriate. As the Ninth Circuit stated in United States versus
     Connelly, that's C-o-n-n-e-l-l-y, 156 F.3d 978, a 1998 case, the
     principal factors that can be applied in assessing a likelihood of
     recidivism are the quantity or repetitiveness of uncounted criminal
     conduct, the similarity of criminal conduct to the offense conduct, and
     the degree to which the defendant has been deterred by prior
     sentences. That statement referenced uncounted criminal conduct.
     And, again, in this case many of these points, 128 are counted,
     although there’s a number which were not.

            I find that considering the nature of the defendant’s prior
     record, the custody range in this case underrepresents the seriousness
     of his criminal record, and an upward departure is warranted pursuit to
     the guidelines. For the purpose of an upward departure under the
     guidelines, the method is to add one offense level for every three of
     the criminal history points above 13 in order to determine a total
     offense level over Category VI that adequately reflects the seriousness
     of the defendant’s prior criminal conduct. This method points to an
     offense level as the Government points out well above the range of the
     sentencing table which has a maximum, of course, of life
     imprisonment.

            I have, however, considered each intervening offense level and
     find that the intervening level of 33 would adequately account for the
     defendant’s past and his propensity for future criminality. And that
     level 33 has a range of 235 to 293 months imprisonment. It’s true that
     the defendant as he points out and as is clear is now a much senior
     citizen than he was when he went into prison. Although, when he
     committed his last offense he was 56 years old, which is a mature
     individual. Aside from his osteoarthritis in his left knee, the
     defendant appears in good health according to the report from the

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      Bureau of Prisons. And I believe that he is capable of continuing to
      commit crimes.

            The defendant received a very lengthy sentence when he was
      convicted and sentenced by Judge Williams back in 2000. But we can
      only think of the uncommitted crimes that have not been committed
      because of that lengthy sentence. The people who have been damaged
      and injured by his repeated break-ins to residences and his other
      crimes, all of those crimes were prevented because Mr. Fields was
      incarcerated. And I have no doubt in my mind that had he not been
      sentenced to such a lengthy sentence and served this lengthy period of
      time, he would have committed many other crimes. And instead of
      the 106, which I counted and, again, I may be off a few, there would
      be many more on his record.

            In addition, I believe even if I did not upwardly depart under
      the guidelines or if there was any fault in my methodology in
      calculating an upward departure, I believe that a variance, an upward
      variance to the same sentence that he received before is appropriate
      essentially for the same reasons.

             While it’s true that Mr. Fields has not -- has not a terrible
      record in prison, all of us in this courtroom have seen worse histories
      of record in prison. He was convicted of an assault as recently as
      2013. And, again, while he has engaged in programs which hopefully
      have helped him, it is very hard to overlook, in fact, impossible to
      overlook the history of his life and the harm that he caused throughout
      his life. And in spite of his more advanced age, Mr. Fields being one
      year younger than I, I believe that there is still the propensity for
      further criminal conduct, and I believe that a sentence that I imposed
      or that was imposed by Judge Williams originally is still appropriate
      today.

             And accordingly, in addition to my finding of upward departure
      as an appropriate course, I also believe that even if I did not upwardly
      depart under the guidelines, I would vary to the same level and to the
      same sentence.

Tr. 11-16, ECF No. 109.


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      I then orally imposed a total sentence of 293 months imprisonment on the

defendant. Unfortunately, I imposed concurrent terms of 293 months on each of

the defendant’s five counts of conviction, even though each had a maximum

statutory term of imprisonment of ten years, or 120 months.             No one in the

courtroom brought this error to my attention and it was included in the Amended

Judgment entered on January 9, 2018, ECF No. 98, to which no objection was

made. Fields then noted an appeal.

      Government counsel has explained that because of the press of other duties,

she was unaware of the error until she began work on the government’s brief in the

court of appeals. 1 She then moved the court of appeals “to vacate the sentence in

this case and remand to the district court to correct the sentence” so that this court

might stack consecutive sentences to reach the total term of imprisonment of 293

months. Mot. to Remand 1, ECF No. 110-1. The court of appeals granted the

motion, and “remand[ed] this case to the district court to correct the sentence.”

Order 1, No. 18-4030 (4th Cir. June 26, 2018), ECF No. 110.

      Once the mandate of the court of appeals was issued on July 18, 2018, I

entered an order directing the Clerk to prepare for entry an Amended Judgment,


      1
          Defense counsel has not indicated that he was unaware of the error, although of
course he did not bring it to the attention of the court either after the judgment was
entered or within the 14 days following its entry when a clear error in sentencing may be
corrected under Federal Rule of Criminal Procedure 35(a).


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correcting the sentence by stacking the counts to arrive at the total sentence

imposed. Order, July 20, 2018, ECF No. 113. In response, the defendant moved

to vacate that Order, requesting that a new presentence report be prepared, along

with a new sentencing hearing, “to hear reasons why, in the defense’s view, a

lower sentence is appropriate.” Mot. to Vacate 2, ECF No. 114. I denied the

motion, holding that

      The Order of the court of appeals remanded the case for the sole
      purpose of correcting the sentence. Under the mandate rule, the court
      has no power to conduct a new sentencing of the defendant. Even if
      the court had such power, it would not do so in its discretion. The
      court had adequate information concerning the defendant when he
      was resentenced on January 9, 2018, without a new presentenece
      report, and without objection by counsel for the defendant.

Min. Order, July 21, 2018, ECF No. 115.

      The defendant then filed the present motion, seeking reconsideration of the

Order denying the Motion to Vacate. The parties have briefed the Motion for

Reconsideration, and it is ripe for decision.

                                          II.

      “[A]n inferior court has no power or authority to deviate from the mandate

issued by an appellate court.” Briggs v. Penn. R.R., 334 U.S. 304, 306 (1948).

“Deviation from the mandate rule is permitted only in a few exceptional

circumstances, which include (1) when controlling legal authority has changed

dramatically; (2) when significant new evidence, not earlier obtainable in the


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exercise of due diligence, has come to light; and (3) when a blatant error in the

prior decision will, if uncorrected, result in a serious injustice.” Doe v. Chao, 511

F.3d 461, 467 (4th Cir. 2007) (internal quotation marks and citations omitted). The

court of appeals did not remand the case to me to reconsider the total sentence

imposed on Fields, but to correct the clear error by which I imposed separate

concurrent terms that exceeded their statutory maximums. I am prepared to obey

the order of the court of appeals, but there are no exceptions to the mandate rule

that would permit me to now impose a different total sentence. See United States

v. Sellers, 701 F. App’x 232, 233 (4th Cir. 2017) (unpublished) (affirming that

mandate rule precluded district court from conducting a full resentencing after a

remand directing that the district court vacate the conviction and sentence as to

only one count of multi-count judgment).2

      Even were I to have the power to conduct a new sentencing, with a new

presentence report, I would not do so. The defendant had a full opportunity to

present evidence and argument at the sentencing held after his § 2255 motion was

granted, and he did so. He has not suggested any new or difference arguments that

      2
          The present case does not implicate the “sentencing package doctrine” whereby
the total sentence is seen as a package and if only one part is vacated on appeal, the
district court on remand is permitted to increase the sentences on other counts even
though they were not vacated on the appeal. See United States v. Ventura, 864 F.3d 301,
309 (4th Cir. 2017). Nor does it implicate a situation in which the court of appeals
vacated a sentence in its entirely and remanded for resentencing. See United States v.
Baker, 601 F. App’x 231, 233 (4th Cir. 2015) (unpublished).


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he might make that were not available at that time. While his counsel now claims

on brief that he wants an “opportunity to raise other errors,” Reply 1, ECF No. 119

(emphasis added), he does not indicate what those errors might be or why they

were not raised before. 3

                                                III.

      Accordingly, it is ORDERED that the Motion for Reconsideration, ECF

No. 116, is DENIED.


                                                 ENTER: August 6, 2018

                                                  /s/ James P. Jones
                                                 United States District Judge




      3
           The defendant also contends that the government agreed that it would not
oppose a full resentencing upon remand. While the government does not oppose a full
resentencing, it denies that it ever intended to indicate that a full resentencing was
required. Resp. 3, ECF No. 118. In any event, it is not the parties’ decision, but the
court’s.
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